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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                            Norfolk Division


   CSX TRANSPORTATION,INC.,
   individually and on behalf of NORFOLK
   & PORTSMOUTH BELT LINE
   RAILROAD COMPANY,

                   Plaintiff,

                                                            Civil Action No. 2:18-cv-530-MSD-RJK

   NORFOLK SOUTHERN RAILWAY
   COMPANY,etal.

                   Defendants.
                                                    /


                                REVISED FINAL PRETRIAL ORDER


            PlaintiffCSX Transportation, Inc.("CSX")and Defendants Norfolk Southern Railway

   Company ("NS") and Norfolk and Portsmouth Beltline Railway Company ("NPBL" or the

   "Belt Line") submit the following revised Final Pretrial Order pursuant to the Court's Order

   (ECF No. 505), the Federal Rules of Civil Procedure, and the Local Rules of this Court. The

   Parties have stipulated as to various matters identified herein, and have identified the

   following exhibits, witnesses, factual contentions, and triable issues.

            It is thus ORDERED as follows:


   I.       STIPULATION OF UNDISPUTED FACTS AND LEGAL CONTENTIONS

            1.     The parties stipulate and agree that the conduct at issue in this case has an effect on

    interstate commerce.


            2.     CSX and NS are Class 1 railroads operating in the eastem United States. CSX and

   NS compete for the rail transportation of international intermodal containers delivered to or from

    ports on the East Coast of the United States.

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           3.      NPBL is a terminal switching railroad (sometimes called a "short line") located in

   Hampton Roads, Virginia. NPBL is currently owned 57% by NS and 43% by CSX.

           4.      NPBL was formed in 1896 by eight railroads. NPBL's purpose is to interchange

   or "switch" rail cars for other railroads. NPBL receives cars tendered by other railroads and

   delivers them to locations on its rail line, or vice-versa.

           5.      NPBL's business and affairs are governed by an Operating Agreement, dated July

   7, 1897(the "Operating Agreement"), as amended. ECF No. 1-1.

           6.      On March 1, 1989, the NPBL's then-existing owners—CSX,Norfolk and Western

   Railway Company("NW")and Southern Railway Company("SR")—entered into a Supplemental

   Agreement amending the Operating Agreement to allow CSX to appoint two directors and NW

   and SR to collectively appoint three directors.

   II.     EXHIBITS


           1.      The Parties have segregated the documents,summaries,and other exhibits that may

   be offered into evidence at trial into four exhibit lists. A joint list of agreed exhibits will be

   submitted to the Court at the Final Pretrial Conference as Exhibit A. CSX's Exhibit List and

   Defendants' objections thereto are attached as Exhibit B. NS's Exhibit List and CSX's objections

   thereto are attached as Exhibit C. NPBL's Exhibit List and CSX's objections thereto are attached

   as Exhibit D.


           Unless otherwise ordered, the Parties agree to deliver to the Court three copies of their

   respective exhibits, sequentially numbered with tabs in binders, one day before trial.

           2.      The Parties have discussed their objections and will continue their efforts to narrow

   and resolve the objections to each other's proposed exhibits. The Parties reserve their rights to

   make and pursue objections to individual exhibits based on rulings on motions. The Parties also




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   agree to reserve rights to require a foundation for the admission of any exhibit and to object on

   hearsay grounds at trial.

           3.      The Parties agree that any documents identified on the exhibit lists attached hereto

   that were produced from a Party's own files shall be deemed authentic unless specifically objected

   to on that basis by another Party. The Parties shall work together to identify any exhibits that

   remain subject to any specific authenticity objections. This provision shall not be deemed to

   resolve any hearsay objections or other aspects offoundation objections for exhibits.

           4.      The Parties agree that to the extent an exhibit is excluded from one Party's exhibit

   list, it is excluded for all purposes and no Party may use it, even if it remains on another Party's

   exhibit list. The Parties agree that inclusion of an exhibit on a Party's list shall not be deemed a

   waiver ofthe Party's right to object to the exhibit, given that exhibit lists have been prepared before

   receiving rulings on pending summary judgment and other motions, and may be included

   protectively on the exhibit list.

           5.      The Parties agree that documents, summaries, and other exhibits listed on the

   exhibit lists to which no objection has been specified at trial may be introduced into evidence by

   any Party; provided, however, all exhibits shall be introduced into evidence on the record at trial,

   either in the course oftestimony about the exhibit at trial, either live or by deposition, or, if a joint

   exhibit, by motion on the record for admission.

           6.      The exhibit lists set forth the Parties' exhibits for their respective cases-in-chief;

   the exhibit lists do not include potential cross-examination or impeachment exhibits that may or

    may not be introduced into evidence. The Parties reserve the right to offer such potential exhibits

   for purposes of cross-examination or impeachment.

   III.    WITNESSES




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              The Parties adopt and incorporate by reference their objections to proposed witness

   testimony, whether by deposition or live, to the extent that testimony is the subject of any

   Party's motion in limiue or Daubert motion.

              For those witnesses expected to testify by deposition, attached as Exhibit E are tables

   indicating the page and line nmnbers designating each witnesses' testimony, objections

   lodged by the Parties, and coimter-desiguations of the testimony. ^

              A.       CSX's Witnesses


              CSX expects to call the following witnesses at trial:

               Name of Witness                 Live/By Deposition                 Objections

        Allan, Jim                                By Deposition            Addressed at Final
                                                                           Pretrial Conference


        Armbnist, Steven                               Live
        Booth, Jolni                              By Depositiorr           Addressed at Final
                                                                           Pretrial Conference


        Capozzi, Thomas                                Live                NPBL andNS:
                                                                           5eeNPBLMIL#3(ECF
                                                                           359)

        Colernan, Domra                                Live
        DiDeo, Tony                               By Deposition            Addressed at Final
                                                                           Pretr ial Conference
        Eliasson, Fredrik                         By Deposition            Addr essed at Final
                                                                           Pretrial Conference


        Girardot, Rob                                  Live
        Heller, Jeffrey                                Live
        Kendall, Quintin                          By Deposition            Addr essed at Final
                                                                           Pretr ial Conference




    ^         The Coiut recognizes that the Parlies' witnesses and deposition designatiorrs identified
   in this Revised Firral Pretrial Order reflect and incorporate the Court's rulings through January
   13,2023,includirrg on Motions in Lirnine, and that the Parties reserwe and retain all objections
   to any adverse rulings, urrless otherwise waived.



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             Name of Witness                Live/By Deposition          Objections

     Kemiev, Maiyclare                              Live
     Luebbers, Cluistopber                     By Deposition     Addressed at Final
                                                                 Pretrial Conference
     Martinez, Robert                               Live
     Mai"vel, Dr. Howard                            Live
     McClellan, Michael                             Live
     Moss, Cannon                                   Live
     Norfolk & Portsmouth Belt                      Live
     Line Railroad Company Rule
     30(b)(6) Coiporate
     Representative
     Piacente, Dean                            By Deposition      Addiessed at Final
                                                                  Pretrial Conference
     Strongosky, Jay                                Live
     Vick, Catherine J.                             Live


     Wanen,Carl                                By Deposition      Addiessed at Final
                                                                  Pretrial Conference


     Virginia International                         Live
     Tenninals, LLC Rule 30(b)(6)
     Coiporate Representative
     Viiginia Port Authority Rule                   Live
     30(b)(6) Coiporate
     Representative

            CSX may call the following witnesses at trial:

            Name of Witness                Live/By Deposition           Objections

     Booth, Cary                              By Deposition      Addiessed at Final
                                                                 Pretrial Conference
     Hall, Jerry                              By Deposition      Addressed at Final
                                                                 Pretrial Conference
     Houfek,Ryan                              By Deposition      Addiessed at Final
                                                                 Pretrial Conference


                                                                 Addiessed at Final
     Himt, Randall                            By Deposition      Pretrial Conference
     Hmlbiit, Thomas                          By Deposition      Addiessed at Final
                                                                 Pretrial Conference
     Ingram, Tony                             By Deposition      Addiessed at Final
                                                                 Pretrial Conference




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            Name of Witness                 Live/By Deposition            Objections

                                                                   Addressed at Final
    Joyner, Kemieth                            By Deposition       Pretrial Conference
     Merilli, Philip                           By Deposition       Addiessed at Final
                                                                   Pretiial Conference
    Norfolk Southern Rule                           Live
     30(b)(6) Coiporate
     Representative
     Stinson, David                            By Deposition       Addressed at Final Pretrial
                                                                   Conference


     Wagel, Christopher                        By Deposition       Addressed at Final Pretrial
                                                                   Conference


     Wheeler, Michael                          By Deposition       Addiessed at Final Pretrial
                                                                   Conference



            B.     NS's Witnesses


            NS expects to call the following witnesses at tiial:

             Name of Witness                Live/By Deposition            Objections

     Cannon Moss                                     Live
     Matthew Wright                                  Live
     Jeffiev Heller                                  Live
     Michael McClellan                              Live
     Robert Martinez                                Live


            NS may call the following witnesses at trial:

            Name of Witness                 Live/By Deposition            Objections

     Donna Coleman                                  Live
     Thomas Crowley                                 Live
     Cary Booth                                     Live
     David Stinson                             By Deposition       Addressed at Final
                                                                   Pretrial Conference
     Leslie Farless                                 Live
     Jeny Hall                                 By Deposition       Addressed at Final
                                                                   Pretrial Conference
     Randall Hunt                              By Deposition       Addiessed at Final
                                                                   Pretrial Conference




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           Name of Witness       Live/By Deposition           Objections

    Phillip Merilli                 By Deposition      Addiessed at Final
                                                       Pretrial Conference


    Thomas Hiirlbiit                By Deposition      Addiessed at Final
                                                       Pretrial Conference
    Mark Mauion                         Live
    Michael Wheeler                 By Deposition      Addressed at Final
                                                       Pretrial Conference
    Michael Bums                    By Deposition      Addiessed at Final
                                                       Pretiial Conference
    James Allan                     By Deposition      Addiessed at Final
                                                       Pretrial Conference
    John Booth                      By Deposition      Addiessed at Final
                                                       Pretiial Conference
    Anthony DiDeo                   By Deposition      Addressed at Final
                                                       Pretrial Conference
    Frederick Eliasson              By Deposition      Addiessed at Final
                                                       Pretiial Conference
    Jeny Hall                       By Deposition      Addressed at Final
                                                       Pretrial Conference
    Ryan Houfek                     By Deposition      Addiessed at Final
                                                       Pretrial Conference
    Thomas Hiulbut                  By Deposition      Addiessed at Final
                                                       Pretrial Conference
    Tony Ingram                     By Deposition      Addiessed at Final
                                                       Pretiial Conference
    Quintin Kendall                 By Deposition      Addiessed at Final
                                                       Pretiial Conference
    Anthony MacDonald               By Deposition      Addressed at Final
                                                       Pretiial Conference
    Philip Merilli                  By Deposition      Addiessed at Final
                                                       Pretiial Conference
    Dean Piacente                   By Deposition      Addressed at Final
                                                       Pretrial Conference


    Jermaine Swafford               By Deposition      Addi'essed at Final
                                                       Pretiial Conference
    Chris Wage!                     By Deposition      Addiessed at Final
                                                       Pretiial Conference
    Carl WaiTen                     By Deposition      Addiessed at Final
                                                       Pretrial Conference




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           C.     NPBL's Witnesses


           NPBL expects to call the following witnesses at trial:

            Name of Witness                 Live/By Deposition                 Objections

    Cannon Moss                                       Live
    William O'Brien                                   Live
    Thomas Crowley                                    Live


           NPBL may call the following witnesses at trial:

           Name of Witness                 Live/By Deposition                  Objections

    Donna Coleman                                  Live
    Adam Reeder                                    Live
    Joe Doimelly                                   Live
    Rachel Sears                                   Live


    Matthew Wright                                 Live
    Anthony MacDonald                         By Deposition
    Ryan Houfek                               By Deposition
    Jay Sti'oiigosky                          By Deposition
    Anthony DiDeo                             By Deposition
    John Booth                                By Deposition
    Steven Anubinst                                Live
    Michael Burns                             By Deposition
    Tony Ingrain                              By Deposition
    Jenuame Swafford                          By Deposition
    Rob Girardot                                   Live
    David Stiuson                             By Deposition
    Tom Capozzi                                    Live



           The Parties agree that all witnesses identified as witnesses whom they '\vill call" to

   testify "live" will in fact appear at trial, barring illness or other unforeseen circumstances

   beyond the witness's control. In the event that a witness so identified does not appear at trial,

   and that witness's deposition testimony has not been previously introduced by an opposing

   Party at tiial, an opposing Paity may offer any othenvise-admissible deposition testimony by

   that witness, regardless of whether the Party seeking to offer such testimony previously

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   designated it. The Parties each reserve the right to call any witness listed on another Party's

   witness list, and expressly reserve the right to call witnesses not listed for rebuttal or

   impeachment; provided, however, that while the Parties will work cooperatively, nothing

   herein shall be deemed to require a Party to produce a "live" witness at a time requested by

   another Party.

   IV.      FACTUAL CONTENTIONS


            CSX's Factual Contentions are attached as Exhibit F. NS's Factual Contentions are

   attached as Exhibit G. NPBL's Factual Contentions are attached as Exhibit H. The Parties agree

   that these lists are not exhaustive and may be supplemented, and that the absence of a factual

   contention shall not constitute waiver and shall not preclude the admission of relevant evidence at

   trial.


   V.       TRIABLE ISSUES


            A.    CSX's Triable Issues^

   Count I; Conspiracy to Restrain Trade(Sherman Act Section O v. NS and NPBL

            1.      Whether NS and NPBL knowingly conspired to restrain trade in the relevant market

   by foreclosing CSX's ability to access on-dock rail at NIT.

            2.      Whether NS^NPBL committed an overt act in furtherance of that conspiracy.

            3.      Whether Defendants' conspiracy to restrain trade harms competition in the relevant

    market.


            4.      Whether Defendants' conspiracy injured CSX's business.

            5.      Whether CSX is entitled to injunctive relief pursuant to the Clayton Act.



   2       The Court recognizes that the Parties' triable issues expressed in this Revised Final
   Pretrial Order reflect and incorporate the Court's rulings through January 13, 2023, and that
   the Parties reserve and retain all objections to any adverse rulings, unless otherwise waived.
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    Count II: Conspiracy to Monopolize(Sherman Act Section 2)v. NS and NPBL

            6.     Whether NS and NPBL knowingly conspired to foreclose CSX's ability to access

    on-dock rail at NIT with the specific intent that NS would obtain and maintain monopoly power

    in the relevant market.


            7.     Whether NS or NPBL committed an overt act in furtherance ofthat conspiracy.

            8.     Whether Defendants' conspiracy to monopolize harms competition in the relevant

    market.


            9.     Whether Defendants' conspiracy to monopolize injured CSX's business.

            10.    Whether CSX is entitled to injunctive relief pursuant to the Sherman Act.



    Count III; MonoDolization (Sherman Act Section 2)v. NS

            11.    Whether NS possesses monopoly power in the relevant market.

            12.    Whether NS willfully acquired or maintained its monopoly power by engaging in

    anticompetitive conduct.

            13.    Whether NS's monopolistic conduct harms competition in the relevant market.

            14.    Whether NS's monopolistic conduct injured CSX's business.

            15.    Whether CSX is entitled to injunctive relief because of NS's exercise of unlawful

    monopoly power.

    Count IV; Attempted Monopolization (Sherman Act Section 2)v. NS

            16.    Whether NS engaged in anticompetitive conduct in the relevant market.

            17.    Whether NS had specific intent to obtain monopoly power in the relevant market.

            18.    Whether there was a dangerous probability that NS would achieve its goal of

    obtaining monopoly power in the relevant market.


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            19.   Whether NS's attempted monopolization injured CSX's business.

            20.   Whether CSX is entitled to injunctive relief because of NS obtaining unlawful

    monopoly power.

    Legal Issues and Injunctive and Declaratory Relief

            21.   Whether NS is bound by, estopped, and/or subject to judicial admissions based on

    its representations to the STB regarding its control over and involvement with NPBL.

            22.    Whether CSX is entitled to a permanent injunction, under the antitrust claims

    pleaded and/or the state law claims pleaded, prohibiting NS and NPBL from engaging in

    anticompetitive and unlawful behavior with respect to on-dock rail access at NIT.

            23.    Whether CSX is entitled to a permanent injunction, under the antitrust claims

    pleaded and/or the state law claims pleaded, to restore CSX's rights as a co-equal shareholder of

    NPBL and/or to establish an independent NPBL Board structure as previously proposed by CSX.

            B.    NS*s Triable Issues


            1.     Whether CSX properly defined the relevant market as on-dock rail access at

    NIT?


            2.     Whether NS has monopoly power, or a dangerous probability of achieving

    monopoly power, in a properly defined relevant market?

            3.     Whether NS willfully sought to achieve or maintain monopoly power through

    exclusionary conduct?

            4.    Whether competition was harmed by NS's exclusionary conduct?

            5.    Whether CSX suffered damages caused by NS's exclusionary conduct that

    occurred within the limitations period, and if so, what the value ofthose damages are?

            6.    Whether NS and NPBL conspired to exclude CSX from the on-dock facilities


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    at NIT?


            7.      Whether CSX's claim for injunctive relief is barred by laches.

            8.      Whether the Belt Line's $210 line haul switching rate is justified by its

    reasonableness.


            9.      Whether this Court has power to grant CSX injunctive relief and,ifso, whether

    CSX is entitled to any.
                    fVPQLii
            C.    ^ Triable Issues


            1.      Under Count 1, whether CSXT can prove by a preponderance of the evidence

    that the Belt Line and NS conspired to unreasonably restrain trade or commerce.

            2.      Under Count 11, whether CSXT can prove by a preponderance of the evidence

    that the Belt Line and NS conspired to monopolize trade or commerce.

            3.      Whether CSXT properly defined the relevant market as on-dock rail access at

    NIT.


            4.      Whether the Belt Line's $210 line haul switching rate is justified by the Belt

    Line's costs.


            5.      Whether the Belt Line's $210 line haul switching rate is justified by its

    reasonableness.


            6.      Whether the Belt Line had power to grant CSXT's 2010 or 2018 rate requests.

            7.      Whether the Belt Line had power to grant CSXT's 2018 corporate governance

    demand.


            8.      Whether this Court has power to grant CSX injunctive relief and,ifso, whether

    CSX is entitled to any.




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    Entered this   day of January, 2023.

                                           Robert jfKrask
                                           United States Magistrate Judge




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    WE ASK FOR THIS:


    CSX TRANSPORTATION,INC.
    By Counsel

    /s/ Robert W. McFarland
    Robert W. McFarland(VSB No. 24021)
    Benjamin L. Hatch(VSB No. 70116)
    V. Kathleen Dougherty(VSB No. 77294)
    Jeanne E. Noonan(VSB No. 87863)
    McGuireWoods LLP
    World Trade Center
    101 West Main Street, Suite 9000
    Norfolk, Virginia 23510-1655
    Telephone:(757)640-3716
    Facsimile:(757)640-3930
    E-mail: rmcfarland@mcguirewoods.com
    E-mail: bhatch@mcguirewoods.com
    E-mail: vkdougherty@mcguirewoods.com
    E-mail:jnoonan@mcguirewoods.com

    J. Brent Justus(VSB No. 45525)
    Ashley P. Peterson(VSB No. 87904)
    McGuireWoods LLP
    Gateway Plaza
    800 East Canal Street
    Richmond, Virginia 23219-3916
    Telephone:(804) 775-1000
    Facsimile:(804)698-2026
    E-mail: bjustus@mcguirewoods.com
    E-mail: apeterson@mcguirewoods.com

    NORFOLK SOUTHERN RAILWAY COMPANY
    By Counsel

    /s/Alan D. Winsfield
    Alan D. Wingfield(VSB No. 27489)       Tara L. Reinhart {admittedpro hac vice)
    Michael E. Lacy(VSB No. 48477)         Thomas R. Gentry {admittedpro hac vice)
    Troutman Pepper Hamilton Sanders       Skadden,Arps,Slate, Meagher & Flom
    LLP                                    LLP
    1001 Haxall Point                      1440 New York Ave, N.W.
    Richmond, Virginia 23219               Washington, D.C. 20005
    Tel.(804)697-1200                      Tel (202)371-7000
    Fax (804)698-6061                      tara.reinhart@skadden.com
    alan.wingfield@troutman.com            thomas.gentry@skadden.com
    michael.lacy@troutman.com

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     John C. Lynch(VSB No. 39267)           Monica McCarroll(VSB No. 45622)
     Kathleen M. Knudsen(VSB No. 90845)     Redgrave LLP
     Troutman Pepper Hamilton Sanders       14555 Avion Parkway, Suite 275
     LLP                                    Chantilly, VA 20151
     222 Central Park Avenue, Suite 2000    Tel.(703)592-1155
    Virginia Beach, Virginia 23462          Fax (703)230-9859
    Tel.(757)687-7537                       mmccarroll@redgravellp.com
    Fax(757)687-1546
    john.lynch@troutman.com
    kathleen.knudsen@troutman.com

     Counselfor Defendant
     Norfolk Southern Railway Company




    NORFOLK AND PORTSMOUTH BELTLINE RAILWAY COMPANY
    By Counsel

    /s/ W. Ryan Snow
    James L. Chapman IV(VSB No. 21983)
    W.Ryan Snow(VSB No.47423)
    Alexander R. McDaniel(VSB No. 92398)
    Crenshaw, Ware & Martin,P.L.C.
    150 West Main Street, Suite 1923
    Norfolk, Virginia 23510
    Tel.(757)623-3000
    Fax(757)623-5735
    jchapman@cwm-law.com
    wrsnow@cwm-law.com
    amcdaniel@cwm-law.com

    Counselfor Defendant Norfolk & Portsmouth Beltline Railroad Company


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